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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

U.S. NAVY SEALs 1-3; on behalf of
themselves and all others similarly situated;
U.S. NAVY EXPLOSIVE ORDNANCE
DISPOSAL TECHNICIAN 1, on behalf of
himself and all others similarly situated; U.S.
NAVY SEALS 4-26; U.S. NAVY SPECIAL
WARFARE COMBATANT CRAFT
CREWMEN 1-5; and U.S. NAVY DIVERS
1-3,
                       Plaintiffs,
                                                  Case No. 4:21-cv-01236-O
       v.

LLOYD J. AUSTIN, III, in his official
capacity as United States Secretary of
Defense; UNITED STATES
DEPARTMENT OF DEFENSE; CARLOS
DEL TORO, in his official capacity as
United States Secretary of the Navy,

                      Defendants.


      PLAINTIFFS’ SUPPLEMENTAL BRIEF RE: FIFTH CIRCUIT DECISION
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       The question before the Fifth Circuit, after the Department of Defense repealed the

COVID-19 vaccination mandate, was whether the Defendants’ appeal of this Court’s preliminary

injunction was moot. The Fifth Circuit, owing (1) to the repeal of the mandate, (2) the repeal of

the policies this Court enjoined, and (3) the changes in policies made by Defendants during briefing

and argument in this case and at the Fifth Circuit, determined the appeal was moot. U.S. Navy

SEALs 1-26 v. Biden, 72 F.4th 666 (5th Cir. 2023). The Fifth Circuit rejected Plaintiffs’ argument

that the voluntary cessation doctrine applied to the appeal because despite Defendants’ repeated

policy actions taken in direct response to arguments made by Plaintiffs, the Court claimed there

was no “gamesmanship” here. SEALs 1-26, 72 F.4th at 674.

       The Fifth Circuit also made clear, however, that this conclusion did not mean the case is

moot. Instead, the Fifth Circuit “le[ft] it open for the district court on remand to conclude that the

SEALs should ultimately prevail in this case.” Id. at 678 (Ho, J., dissenting) (citing id. at 675-76).

The Fifth Circuit declined to rule on Plaintiffs’ argument that the appeal fell into the exception for

controversies that are capable of repetition yet evading review “because the issues Plaintiffs raise

can still be litigated in the district court and appealed after a final judgment, assuming they remain

justiciable,” and because “[t]he capable-of-repetition exception ‘is inapplicable in those situations

in which the issues underlying the moot appeal are not moot in the case remaining before the

district court.’” Id. at 675 (citation omitted). The Fifth Circuit also declined to vacate the

preliminary injunctions because “if the case remains alive in the district court, it is sufficient to

dismiss the appeal without directing that the injunction order be vacated.” Id. at 676 (quoting 13C

Alan Wright, Arthur Miller, & Edward H. Cooper, Fed. Prac. & Proc. § 3533.10.3 (3d ed. April

2023)). Plaintiffs continue to have a concrete interest in the outcome of this litigation and the case

is not moot.


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       While the Fifth Circuit’s decision appears to foreclose an argument that there is still a need

for injunctive relief against the Mandate, or that the voluntary cessation doctrine prevents

mootness on that issue, the decision did not touch all other parts of this case. There are several

remaining issues:

       1. Ongoing harm to the Class Members

       While the Mandate may be gone, the effects of that Mandate and the discriminatory

treatment the Class Members were subject to because of the mandate still linger. Significantly, the

Navy has announced no changes to its religious accommodation process. That “sham” process

allowed for the coercive and discriminatory treatment of the Class Members while their

accommodation requests sat unadjudicated. The Navy has also always defended its process, even

though it does not comport with federal law or even DoD policies. Thus, problems with the Navy’s

process that came to light due to the pandemic still exist:

           •   The Navy’s religious accommodation process permits the Navy to sit on requests
               for accommodation indefinitely.

           •   The Navy’s religious accommodation process permits the Navy to forego
               individualized assessment and instead attempts to use standardized policy memos
               (even if outdated) to satisfy the compelling interest requirement. It also allows
               boilerplate statements to suffice for demonstrating that the Navy’s action is the least
               restrictive means.

           •   The Navy’s religious accommodation process permits the Navy to discriminate
               against sailors who submit a request and to apply coercive tactics in order to
               pressure the servicemember to forego their beliefs.

           •   The Navy’s religious accommodation process permits Navy leadership to dictate
               denial of all requests, no matter the individual circumstances of the requester and
               current conditions/facts.

           •   The Navy’s religious accommodation process permits coercion and retaliation
               against commanding officers who recommend approval of service member requests
               despite the chain of command’s desire that requests be denied.



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           •   The Navy’s religious accommodation process does not permit a requester to
               resubmit a previously denied request, or update/resubmit a pending request, based
               on changes to the requester’s job, location, or circumstances relevant to the request.
               (The Navy’s policies previously allowed this but were changed during the Mandate
               period.)

       The persistence of this illegal process injures the Class Members because they have sincere

religious beliefs that sometimes impact issues related to their service and lack the required avenue

to seek accommodation for those beliefs. Their accommodation requests for the COVID-19

vaccine have been closed by the Navy without adjudication, though many were pending for over

a year. Because the process permitted the Navy to discriminate against the Class Members, it is

likely that they will be hesitant to use that process in the future, resulting in many Class Members

choosing to forego their religious beliefs because they believe they will not be accommodated. Cf.

State of Missouri v. Biden, No. 23-30445, 2023 WL 5821788, at *8 (5th Cir. Sept. 8, 2023) (finding

injury to plaintiffs persisted because of self-censorship and their continued use of social media

even though social media companies had discontinued their COVID-19 related “misinformation”

policies). This warrants prospective relief.

       Further, many Class Members missed opportunities to promote, train, and fulfill milestone

positions necessary to earn promotions because of the Mandate. Class Members who already

earned promotions were denied them and Class Members were removed from milestone positions

or denied the ability to transfer to another unit to assume them (see, e.g., Dkt. 225 at 84, 92, 96,

108-13, 130-31, 137; Dkt. 118 at 27, 62-63; Dkt. 59 at 46, 67, 71, 79-80, 104; Dkt. 97 at 17-18,

25-26, 31-32; see also Dkt. 178 at 39), and Class Members were prevented from executing orders

to attend training and OCS (see, e.g., Dkt. 118 at 26, 51; Dkt. 178 at 62-65, 73, 76-77, 80, Dkt. 97

at 28-29). As a result of this discrimination, the Class Members are generally about 1-3 years

behind their peers because of the Navy’s unlawful religious discrimination. This has a serious

impact on the Class Members’ careers because if a servicemember fails to promote or advance,
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they are placed on track to separate from the Navy. Additionally, for those Class Members who

are within a few years of retirement, the denial of these opportunities means that they are unlikely

to be able to promote to the next grade before retirement, which reduces the pension benefits they

otherwise would have earned. The Navy has never stated in any post-repeal policy that they intend

to rectify this harm caused by their illegal policies and religious discrimination.

        While the Navy has stated that vaccination status shall no longer “be a consideration in

assessing individual Service member suitability for deployment or other operational

assignments,” 1 there is no policy stating that vaccination status cannot be considered in promotions

and non-operational assignments, allowing for continued consequential discrimination. And now

that the Navy unilaterally closed and returned without action all pending accommodation

requests, 2 no one reviewing a servicemember’s file will know whether that sailor was an all-out

“refuser,” or whether they had complied with the rules and asserted a sincere religious objection

to vaccination, something that will influence decisions regardless of official guidance. No new

Navy policy addresses this issue.

        Further, though the Navy states that “the records of currently serving Navy Service

members who requested religious accommodation from COVID-19 vaccination are being centrally

reviewed to identify and remove any adverse information related to vaccine refusal, should it

exist,” 3 Plaintiffs believe there are still negative notations in Class Members’ files and the Navy




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    NAVADMIN 065/23, ¶ 3, https://www.mynavyhr.navy.mil/Portals/55/Messages/NAVADMIN/NAV2023
/NAV23065.txt?ver=5D-VSbRc-Pt_Qjy8WecHeQ%3d%3d. This NAVADMIN was issued on March 6, 2023, shortly
before Plaintiffs filed their surreply opposing Defendants’ Suggestion of Mootness. Dkt. 235. To Plaintiffs’
knowledge, that was the last policy update or change the Navy has made pertaining to the mandate or religious
accommodation.
2
  Id. at ¶ 4.
3
  Id. at ¶ 5.

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has provided no confirmation that this review process is over. And the Navy has always defined

“adverse action” more narrowly than Plaintiffs. See Dkt. 118 at 7; Dkt. 110; Dkt. 171.

       2. Capable of Repetition Yet Evading Review

       Even if no further harm to Plaintiffs was occurring, Defendants’ challenged conduct is

capable of repetition yet evades review. Fed. Election Comm’n v. Wisc. Right to Life, Inc., 551

U.S. 449, 462 (2007). The Fifth Circuit expressly declined to rule on whether this exception would

apply. As Plaintiffs have already briefed, to fall within this exception to the mootness doctrine,

Plaintiffs must show “(1) the challenged action was in its duration too short to be fully litigated

prior to its cessation or expiration, and (2) there was a reasonable expectation that the same

complaining party would be subjected to the same action again.” Cath. Leadership Coal. of Texas

v. Reisman, 764 F.3d 409, 422 (5th Cir. 2014). Here, because the vaccine mandate was rescinded

during the pendency of this lawsuit, Plaintiffs’ requests for religious accommodations were closed,

and the virus continues to change, the first element is satisfied. Plaintiffs could not obtain

permanent relief in their challenge to the mandate and the Navy’s religious accommodation

process before the Navy repealed the Mandate and cancelled their accommodation requests.

       When analyzing the second element, courts are concerned with whether the conduct was

“capable of repetition and not . . . whether the claimant had demonstrated that a reoccurrence of

the dispute was more probable than not.” Honig v. Doe, 484 U.S. 305, 318 n. 6 (1988). Plaintiffs

need not demonstrate with “mathematical precision” that they will be subject to the same illegal

conduct; rather, they just need to show “a reasonable expectation” that the challenged action will

reoccur. Id. Given that the NDAA admittedly permits the Navy to reinstitute a Mandate at any

time, that health authorities are growing concerned over new circulating variants, the White House

recently requested funding for a new, effective COVID-19 booster, and the President has been


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wearing masks again, the idea that Plaintiffs could be subject to the same requirement again in the

future is reasonable. And the odds that the same discriminatory conduct will arise again increase

because the Navy has done nothing to rectify their illegal religious accommodation process, which

caused significant harm to Plaintiffs. Thus, if Defendants reinstitute a COVID-19 vaccination

mandate or issue another policy that implicates the Class Members’ sincerely held religious

beliefs, the Class Members will be forced to apply for accommodation yet again and wait possibly

years once again while the Navy sits on their requests, being discriminated against all the while,

until litigation forces the Navy’s hand and they once again back down while claiming the

Plaintiffs’ claims are moot. The continued existence of what the government believes is a COVID

threat and the continued existence of the Navy’s illegal religious accommodation process means

that the Class Members will be stuck in this cycle and the Navy can avoid accountability. It is clear

from the history of this litigation that Defendants will not address harm to the Class Members

without the pressure of a potential court ruling. A ruling from this Court would break this cycle of

illegal behavior.

       Thus, even if Defendants’ challenged conduct or the harm to Plaintiffs had completely

stopped, this case is the “exceptional situation” where Plaintiffs may proceed beyond any

possibility of mootness. Kingdomware Tech., Inc. v. United States, 136 S.Ct. 1969, 1976 (2016).

       3. Attorneys’ fees

       The issue of attorneys’ fees does not render an otherwise moot case a live controversy.

Freedom From Religion Found., Inc. v. Abbott, 58 F.4th 824, 835 (5th Cir. 2023). But even if the

Court were to find the case is moot and no exception applies, attorneys’ fees would still be an

outstanding issue not directly addressed by the Fifth Circuit’s ruling that the Court will need to

adjudicate. Plaintiffs are undoubtedly the prevailing party and are thus entitled to their attorneys’


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fees under 42 U.S.C. § 1988(b). Franciscan All., Inc. v. Becerra, No. 7:16-CV-00108-O, 2023 WL

4462049, at *2 (N.D. Tex. July 11, 2023); SEALs 1-26, 72 F.4th at 677 (Ho, J., dissenting)

(“History will record that, in this battle over the Navy’s COVID-19 vaccination mandate, the Navy

SEALs won multiple victories, while the Navy suffered repeated losses.”).

                                         CONCLUSION

       For the foregoing reasons, this Court should find that the case is not moot.


Respectfully submitted this 12th day of September, 2023.

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                               CERTIFICATE OF SERVICE

       I hereby certify that on September 12, 2023, I electronically filed the foregoing document

through the Court’s ECF system and will serve a copy on each of the Defendants according to the

Federal Rules of Civil Procedure.



                                                    /s/ Heather Gebelin Hacker
                                                    HEATHER GEBELIN HACKER




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